                              Case 14-50331-gs        Doc 99     Entered 03/03/16 14:30:47       Page 1 of 1



                          1    Jeffrey L. Hartman, Esq., #1607
                               HARTMAN & HARTMAN                                            E-Filed 3/3/16
                          2    510 West Plumb Lane, Suite B
                               Reno, Nevada 89509
                          3    Telephone: (775) 324-2800
                               Fax: (775) 324-1818
                          4    notices@bankruptcyreno.com
                          5    Attorney for Jeri Coppa-Knudson, Trustee
                          6                              UNITED STATES BANKRUPTCY COURT
                          7                                      DISTRICT OF NEVADA
                          8
                          9    IN RE:                                        CASE NO.       BK-N-14-50331-BTB
                                                                             CHAPTER        7
                        10     AT EMERALD, LLC,
                                                                             STIPULATION TO EXTEND PERIOD OF
                        11                     Debtor.                       LIMITATIONS
                        12                                                   Hearing Date: N/A
                                                                             Hearing Time:
                        13                                               /
                        14              Jeri Coppa-Knudson, chapter 7 trustee (‘Trustee”) and John Beach, as trustee of the
                        15     Beach Living Trust (the “Beach Trust”) agree as follows:
                        16              1. AT Emerald filed its chapter 11 petition on March 4, 2014. The chapter 11 case
                        17     was converted to chapter 7 on August 29, 2014.
                        18              2. The Trustee has two years from the original petition date within which to
                        19     commence avoidance actions under chapter 5 of the Bankruptcy Code.
                        20              3. The Trustee has identified a potential avoidance action against the Beach Trust.
                        21              4. The Trustee and the Beach Trust agree that the period of limitations under 11
                        22     U.S.C. § 546(a) is not jurisdictional and may be extended by agreement. Accordingly,
                        23              IT IS STIPULATED that the period within which the Trustee may commence an
                        24     avoidance action against the Beach Trust is extended to August 31, 2016.
                        25     HARTMAN & HARTMAN                                     HOLLAND & HART
                        26
                               /S/ Jeffrey L. Hartman                                /S/ Timothy Lukas
                        27     Jeffrey L. Hartman, Esq. for                          Timothy Lukas, Esq. for
                               Jeri Coppa-Knudson, Trustee                           John Beach as Trustee of the
                        28                                                           Beach Living Trust
    Hartman & Hartman
510 West Plumb Lane, Ste. B
   Reno, Nevada 89509
      (775) 324-2800
